                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVISION



MARK BRIGGS,                                           No. 3:12–cv–00004
                                      Plaintiff,

                       v.                              MEMORANDUM OPINION


CHARLOTTESVILLE PUBLIC SCHOOLS,                        JUDGE NORMAN K. MOON
                                      Defendant.




       Plaintiff Mark Briggs (“Briggs”), pro se, alleges that Defendant Charlottesville Public

Schools (“the School”) violated Title VII of the Civil Rights Act of 1964 (“Title VII”) and the

Americans With Disabilities Act of 1990 (“ADA”) when the School terminated Briggs’s

employment as a part-time substitute instructional aide assistant in April of 2011. Pursuant to 28

U.S.C. § 1915(a)(1), this Court granted Briggs’s Motion for Leave to File In Forma Pauperis

(docket no. 1), and the Clerk of the Court filed his Complaint (docket no. 2). Having reviewed

Briggs’s allegations, however, the Court will summarily dismiss the Complaint, without

prejudice, because Briggs has failed to state a claim upon which relief can be granted.


                                        I. BACKGROUND

       The narrative set forth in Briggs’s handwritten Complaint is rather fragmented; however,

in order to allow the possible development of a potentially meritorious case, the Court, as it

must, shall construe the Complaint liberally. Erickson v. Pardus, 551 U.S. 89, 94 (2007) (“A

document filed pro se is ‘to be liberally construed.’”) (quoting Estelle v. Gamble, 429 U.S. 97,

106 (1976)). According to his Complaint, in April of 2011, Briggs accepted an “assignment to

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work a half a day” as a substitute instructional aide at Jackson-Via Elementary School in

Charlottesville, Virginia. Compl. 1. At some unspecified point during his unspecified tenure at

Jackson-Via,1 other teachers were “talking to [him] badly” and “telling kids not to leave with

[him] . . . .” Id. Briggs maintains that he did nothing wrong, and such talk was unwarranted. Id.

at 1–3. Then, while Briggs was working with students in a classroom, the principal of the school

came into the classroom and handed Briggs a note. Id at 1. The note provided Briggs with a

time at which he was supposed to meet with the principal. Id. As directed, Briggs went to the

meeting, during which the principal told Briggs that she would have to release him from his

duties. Id. Briggs responded by saying that he had done nothing wrong, and he now asserts that

it would have been more appropriate for the school to make an accommodation for him, since he

has a disability.2 Id. at 1–2.

         Briggs alleges that when he attempted to go get his bag, the principal called the police.

Id. at 2. When Briggs reached for the door of the classroom, the principal blocked the doorway

so that he could not get his bag. Id. Another teacher then handed Briggs his bag, and either that

teacher or the principal—to whom Briggs refers is unclear from the Complaint—said to Briggs

something to the effect of, “if you touch me, you will go to jail for assault.” Id. Eventually,

Briggs got his bag and proceeded to leave the school grounds. As he was walking out the front

door, “she”—again, presumably the principal—was still following him, and asked him which car

was his. Id. Briggs responded that he caught a cab to work. Id. Briggs, in his Complaint,

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           My decision to dismiss does not turn on Briggs’s length of service at Jackson-Via Elementary School;
however, in an attempt to produce an accurate factual narrative herein, I note that the events alleged—from Briggs
beginning his term of employment at Jackson-Via to his termination—appear to have all transpired during the
course of a single day. While Briggs’s Complaint does allege that he “taught school for seven years as an
instructional assistant,” and his Charge of Discrimination asserts that he was “hired in July 2006 as a part time
Instructional Aid,” see Compl. Ex. 1, at 2, my interpretation of the filings leads me to believe that Briggs spent that
time at other schools.
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         Briggs apparently suffers from an unspecified disability, which he refers to without elaboration in both his
Complaint and his Motion for Leave to Proceed In Forma Pauperis.

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rhetorically asks “why would she say those bad things to me I’m a working man not a drug

dealer . . . .” Id. Notably, Briggs does not allege with any specificity what “bad things” the

principal or any other school employee said. Briggs claims that he felt like he was treated like a

criminal during the course of this interaction because police surrounded him in the street. Id. at

2–3. At bottom, Briggs believes that his “human & civil rights were violated . . . .” Id. at 3.

Finally, Briggs notes that, for allegedly no reason at all, somebody—presumably, again, the

principal—“chase[d] [him] through the school3 . . . .” Id.

         On July 29, 2011, Briggs filed a Charge of Discrimination with the Virginia Council on

Human Rights and the Equal Employment Opportunity Commission (“EEOC”). In his Charge

of Discrimination, Briggs asserts his belief that he was discharged “because of [his] race, Black, .

. . and because of [his] disability . . . .” See Compl. Ex. 1, at 2–3. On August 16, 2011, Carolyn

King, on behalf of Acting Director of the EEOC Richmond Local Office Thomas Colclough,

responded with a Dismissal and Notice of Rights (“Dismissal Notice”). See Compl. Ex. 1, at 7.

The Dismissal Notice alerted Briggs that the EEOC was closing its file on his charge because the

EEOC was unable to conclude that the information obtained established violations of the

statutes. Id. The Dismissal Notice, in relevant parts, clearly notified Briggs that he had the right

to file a lawsuit, and that any such lawsuit under Title VII or the ADA “must be filed WITHIN

90 DAYS of [his] receipt of this notice . . . .”                 Id. Briggs filed the instant Complaint on

January 25, 2012.




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            Nothing more is said of this “hallway chase” allegation in Plaintiff’s Complaint. My interpretation of
Plaintiff’s filings leads me to believe that this allegation occurred on the same day Briggs was terminated, but before
he left the building.

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                                       II. APPLICABLE LAW

       Although I construe Plaintiff’s Complaint liberally, “[i]t is well settled that federal courts

performing their duties of construing pro se pleadings are not required to be ‘mind readers’ or

‘advocate[s]’ for pro se litigants.” Cox v. Marchant, C/A No. 2:11–2811–PMD–BHH, 2011 WL

5869684, at *2, Oct. 31, 2011 (D.S.C. 2011) (quoting, respectively, Beaudett v. City of Hampton,

775 F.2d 1274, 1278 (4th Cir. 1985) and Gordon v. Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978)).

In that vein, the statute governing in forma pauperis proceedings provides that “the court shall

dismiss the case at any time if the court determines that . . . the action or appeal . . . is frivolous

or malicious [or] fails to state a claim on which relief may be granted . . . .” 28 U.S.C. §

1915(e)(2). The “fails to state a claim” standard annunciated in § 1915(e)(2), of course, is “the

familiar standard for a motion to dismiss under Federal Rule of Procedure 12(b)(6), accepting the

plaintiff’s factual allegations as true.”    Hancock v. Combs, No. 7:10–cv–00045, 2010 WL

2164622, at *1 (W.D. Va. May 25, 2010). Even accepting those allegations as true, however, a

plaintiff must “allege facts sufficient to state all the elements of [the] claim.” Bass v. E.I. Dupont

de Nemours & Co., 324 F.3d 761, 765 (4th Cir. 2003). The plaintiff must recite “a short and

plain statement of the claim showing that the pleader is entitled to relief, in order to give the

defendant fair notice of what the . . . claim is and the grounds upon which it rests . . . .” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal quotation marks and citation omitted).

“Factual allegations,” in sum, “must be enough to raise a right to relief above the speculative

level.” Id.


                                          III. DISCUSSION

       Under the governing law set forth above, I find that the Plaintiff’s claim, as stated, fails to

set forth a claim cognizable in a federal district court. Title VII makes it unlawful for an

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employer to “discharge any individual, or otherwise discriminate against any individual with

respect to his compensation, terms, conditions, or privileges of employment, because of such

individual's race, color, religion, sex, or national origin . . . .” 42 U.S.C. § 2000e–2. Using

similar language, the ADA makes it unlawful for qualifying employers to “discriminate against a

qualified individual4 on the basis of disability in regard to job application procedures, the hiring,

advancement, or discharge of employees, employee compensation, job training, and other terms,

conditions, and privileges of employment.” 42 U.S.C. § 12112.

        The liberal construal afforded to a pro se complaint does not give a plaintiff license to

proceed despite “fail[ing] to contain any factual allegations tending to support his bare assertion .

. . .” White v. White, 886 F.2d 721, 723 (4th Cir. 1989). Instead, an “in forma pauperis

plaintiff[] must meet certain minimum standards of rationality and specificity.” Adams v. Rice,

40 F.3d 72, 74 (4th Cir. 1994) (affirming the district court’s dismissal of a prisoner’s

constitutional claims against prison officials).

        Even liberally construed, Briggs’s Complaint fails to make any factual allegations that

would support a claim under either Title VII or the ADA. Falling far short of even alleging facts

necessary to establish a prima facie case under either statutory scheme, the Complaint is mostly

nonsensical and unintelligible. Plaintiff has failed to provide the Court with a coherent factual

background for the claims he attempts to pursue.                  Plaintiff alleges that he is an African-

American, and that he is disabled, and that he was terminated, but none of the facts alleged in his

Complaint implicate unlawful conduct on behalf of the Defendant. The Complaint simply offers

no basis to conclude that the School terminated Briggs for reasons prohibited by law.



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          “The term ‘qualified individual’ means an individual who, with or without reasonable accommodation,
can perform the essential functions of the employment position that such individual holds or desires.” 42 U.S.C. §
12111(8).

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       To establish a prima facie case of racial discrimination under Title VII, a plaintiff must

“prove by a preponderance of the evidence that: (1) he is a member of a protected class; (2) he

was qualified for his job and was performing it to Defendant's legitimate expectations; (3) in

spite of his qualifications and performance, he was fired; and (4) the position remained open to

similarly situated qualified applicants after his dismissal.” See, e.g., Turner v. Danzig, 8 Fed.

App’x 268, 269 (4th Cir. 2001) (citations omitted). Even assuming that individuals at the School

were “talking badly” or saying “bad things” to Briggs as he alleges, Briggs has not connected

those remarks to either a “discriminatory animus” or even “any employment decision.” See

McNeal v. Montgomery Cnty., Md., 307 Fed. App’x 766, 774 (4th Cir. 2009) (affirming district

court’s award of summary judgment to an employer against a plaintiff’s Title VII claim alleging

age, race, and gender discrimination in the promotion context).         Indeed, significantly, the

remarks about which Briggs complains are not even specifically alleged to be related to his race.

Under such circumstances, this Court will not allow Plaintiff’s Title VII claim to go forward.

       Turning now to Briggs’s ADA claim, to establish a prima facie case under the ADA, “a

plaintiff must prove by a preponderance of the evidence that (1) [he] was in the protected class;

(2) [he] was discharged; (3) at the time of the discharge, [he] was performing [his] job at a level

that met [his] employer's legitimate expectations; and (4) [his] discharge occurred under

circumstances that raise a reasonable inference of unlawful discrimination . . . .” Ennis v. Nat’l

Ass’n of Bus. and Educ. Radio, Inc., 53 F.3d 55, 58 (4th Cir. 1995) (citations omitted). Even

giving the instant Complaint a charitable interpretation, the most Briggs can be said to have

alleged is that (1) he has an unspecified disability and (2) he now thinks that the School should

have made some sort of accommodation for him instead of firing him. See Compl. 2. As




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written, these allegations give rise to absolutely no inference of unlawful discrimination. The

Complaint therefore fails to state a claim under the ADA, and it, too, will be dismissed.

       Additionally, I note that Briggs filed his Complaint with this Court more than five

months after the EEOC sent Briggs its Dismissal Notice. The Dismissal Notice advised Briggs

that should he wish to file a lawsuit, he was required to do so within 90 days of his receipt of the

Notice. See 42 U.S.C. § 2000e–5(f). Although “[t]he 90–day period provided for in Title VII is

not jurisdictional and is subject to principles of equitable tolling as would be a statute of

limitations,” Kramer v. Bd. of Educ. of Balt. Cnty., 788 F. Supp. 2d 421, 425 (D. Md. 2011)

(citing Irwin v. Dep't of Veterans Affairs, 498 U.S. 89, 95–96 (1990)), the Court takes notice that

Briggs offered no explanation for his late filing. The United States Court of Appeals for the

Fourth Circuit has directed its district courts to employ a case-by-case analysis “of the facts to

determine if reasonable grounds exist for an equitable tolling of the filing period.” Harvey v.

City of New Bern Police Dep’t, 813 F.2d 652, 654 (4th Cir. 1987). The Supreme Court of the

United States has cited examples of when the statutory period might equitably toll, including, for

instance, where

       a claimant has received inadequate notice . . . or where a motion for appointment
       of counsel is pending and equity would justify tolling . . . or where the court has
       led the plaintiff to believe that [he] had done everything required of [him] . . . [or]
       where affirmative misconduct on the part of a defendant lulled the plaintiff into
       inaction.

Baldwin Cnty. Welcome Ctr. v. Brown, 466 U.S. 147, 151 (1984) (citations omitted). There

being no facts alleged that might provide reasonable grounds for the Court to equitably toll the

filing period, Briggs has failed to state a claim on which relief may be granted, and dismissal

would be warranted under this alternative analysis.




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                                       IV. CONCLUSION

       For the reasons stated, the Court concludes that the Plaintiff has failed to state a claim

upon which relief may be granted. Therefore, pursuant to 28 U.S.C. § 1915(e)(2)(b), the Court

will dismiss the Complaint, without prejudice, in an Order to follow.

       The Clerk is directed to send certified copies of this Memorandum Opinion and the

accompanying Order to the Plaintiff and to counsel of record for the Defendant.

                    1st day of February, 2012.
       Entered this ______




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